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UNITED STATES OF AMER|CA, * gifts §§ ';;.,;` gigliqu
P|aintiff, *
vs. * Criminal No. 04-20074-D P
DONALD RAY WlL|_|A|ViS, n *
Defendant. *

 

PRELIM|NARY ORDER OF FORFE|TURE

 

|n indictment Number 04-20074-D P, the United States sought forfeiture of specific
property of defendant Dona|d Ray Wil|iams, pursuant to 18 U.S.C. § 2252. On June 29,
2004, the defendant, Dona|d RayWi|liams, entered a plea of guilty to Counts 1 thru 2 , as
well as forfeiture Count 10 of the indictment
According|y, it is ORDERED:

1. Based upon the defendant’s guilty plea to Counts 1 thru 2, as well as
forfeiture Count 10 of the indictment Number 04-20074-D P, the United States is
authorized to seize the following property belonging to defendant Donald Ray Wi||i;ns, and
his interest in it is hereby forfeited to the United States for disposition in accordance with
the iaw, subject to the provisions of 21 U.S.C. §853(n) and Ru|e 32(d)(2) of the Federal
Ru|es of Crimina| Procedure:

a. Any visual depiction described in Section 2252 of Tit|e 18 United

States Code, and any book, magazine, periodicall firm, videotape, and other matter which

contains any such visual depiction, which was produced, transported, mailed. shipped, or

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received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross

profits or other proceeds obtained from the above said offenses; and

c. Any property, real or persona|, used or intended to be used to commit

or to promote the commission of the above said offenses, including but not limited to the

following:

1)

3)

4)

5)

6)

7)

3)

10)

oNE (1) PAcKARD BELL 5610
TowER, s/N Y131774952;

ONE (1) PACKARD BELL N|ON|TOR,
S/N TG|V|N74301971;

ONE (1) GENERiC KEVBOARD;

ONE (1) LEX|V|ARK PR|NTER,
S/N 6012006;

ONE (1) N|AGNAVOX WEB TV
BOX, S/N 61573453;

FOUR (4) READ/WR|TABLE CD'S;

ONE (1) BE|GE BOX W/SW|TCH;
ASSORTED CABLES;

oNE (1) CoMPAQ PREsARlo
LAPTOP CoMPuTER, s/N
1v863Y53N6MN;

SlXTY-TWO (62) CD RO|V|S (READ/
WR|TABLE CD), SEVEN (7) 3-1/2 1.44
MB FLOPPV D|SCS;

FORTY-NINE CD-ROMS.

A|| pursuant to Tit|e 18, United States Code, Section 2253.

2. The forfeited property is to be held by the United States Marsha| in his

2

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secure custody, or, as may be necessary, the Attorney General may appoint a substitute
custodian. a

3. Pursuant to 21 U.S.C. §853(n)(1), the United States Marshal shall publish at
least once a week for three successive weeks in a newspaper of general circulation in
Shelby County, Tennessee, notice of this order, notice of the United States’ intent to
dispose of the property in such manner as the Attorney General or his delegate may direct,
and notice that any personl other than the defendant, having or claiming a legal interest
in any of the above-listed forfeited property must file a petition with the court Within thirty
(30) days of the final publication of notice or of receipt of actual notice, whichever is earlier.
This notice shall state that the petition shall be for a hearing to adjudicate the validity of the
petitioners alleged interest in the property, shall be signed by the petitioner under penalty
of perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioner’s claim
and the relief sought. The United States Marshal or his delegate may use the attached
Legal Notice.

The United States may also, to the extent practicable, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Preliminary Order of Forfeiture, as a substitute for published notice as to those persons so
nodded.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Pre|iminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment

5. |f no third party files a timely claim, this Order shall become the Final Order

3

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of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

6. The United States shall have clear title to the Subject Property following the
Court’s disposition of all third-party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and
28 U.S.C. §2461(c), for the filing of third party petitions.

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

lT is so oRDEREo this 3 ¢_l'*"‘ day of ( 2a dba , 2005.

 

United States District Judge

PRESENTED BY:

TERRELL L. HARRlS
United States Attorney

wsz

lSTOPHER E. COTTEN
Ciss stant United States Attorney

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|N THE UN|TED STATES DISTR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN D|V|S|ON

UN|TED STATES OF A|V|ER|CA, *

P!aintiff, *
vs. * Criminal No. 04-20074-D P
DONALD RAV W!LL|AMS, *

Defendant. *

 

LEGAL NOT|CE

Tal<e notice that on ( land ag ;Qo.s/, the united states oistrict Court for the

Western District of Tennessee, Western Division, entered a Pre|iminaryOrder of Forfeiture

 

ordering that all right, title and interest of the defendant Donald Ray Williams in the
following property be forfeited to the United States to be disposed of in accordance with
law:

a. Any visual depiction described in Section 2252 of Title 18 United States
Code, and any book, magazine, periodical, firm, videotape, and other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped, or
received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from the above said offenses; and

c. Any property, real or personal, used or intended to be used to commit or to

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promote the commission of the above said offenses, including but not limited to the

following:

1)

2)

3)

4)

6)

7)

9)

10)

oNE (1) PAcKARo BELL 5610
TowER, s/N Y131774952;

ONE (1) PACKARD BELL MON|TOR,
S/N TGMN74301971;

oNE (1) GENERIC KEYBoARo;

oNE (1) i_Exi\/iARK PRiNTER,
s/N 6012006;

ONE (1) IV|AGNAVOX WEB TV
BOX, S/N 61573453;

FouR (4) REAo/wRiTABi_E cD'S;

ONE (1) BE|GE BOX W/SW|TCH;
ASSORTED CABLES;

oNE (1) coiviPAo PREsARio
LAPToP coiviPuTER, s/N
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wRiTABLE co), sEvEN (7) 3-1/2 1.44
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FORTY-N|NE CD-ROMS.

A|l pursuant to Title 18, United States Code, Section 2253.

The United States intends to dispose of this property in such matter as the Attorney

Generat or his delegate may direct. Any person, other than the defendant, having or

claiming a legal interest in the above-listed forfeited property must file a petition with the

Court within thirty (30) days of the final publication of this notice or of receipt of actual

notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of

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the petitioner’s alleged interest in the property, shall be signed by the petitioner under
penalty of perjury, and shall set forth the nature and extent of the petitioner’s right, tit|e, or

interest in each of the forfeited properties and any additional facts supporting the

petitioner’s claim and relief sought.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:04-CR-20074 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

